                         Case 3:17-bk-02469-PMG             Doc 16     Filed 08/30/17       Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                08/30/2017 10:00 AM

                                                                COURTROOM 300 North Hogan Street

HONORABLE PAUL GLENN
CASE NUMBER:                                                    FILING DATE:

3:17-bk-02469-PMG                         7                       07/03/2017

Chapter 7

DEBTOR:                Natashia Swindler



DEBTOR ATTY:           NA

TRUSTEE:               Gordon Jones

HEARING:

Application to Have the Filing Fee Waived Filed by Debtor Doc #4

APPEARANCES::

Application to Have the Filing Fee Waived Filed by Debtor Doc #4

 RULING: DENIED. O/JONES
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                  Case Number 3:17-bk-02469-PMG                       Chapter 7
